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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

    POLYMER80, INC.,                                            )
                                                                )
             Plaintiff,                                         )
    v.                                                          )                  Civil Action No.
                                                                )                  4:23-cv-00029-O
    MERRICK GARLAND, in his official                            )
    capacity as Attorney General of the United                  )
    States, et al.,                                             )
                                                                )
             Defendants.                                        )

                          NOTICE OF DISMISSAL WITHOUT PREJUDICE

            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Polymer80, Inc.,

hereby files this Notice of Dismissal Without Prejudice. This action is therefore dismissed without

prejudice, and with each party to bear its own costs, attorneys’ fees, and expenses.1

            District Court proceedings in this case are currently stayed. (See Doc. 52). Polymer80

hereby consents to the Court and/or Clerk of Court lifting the stay to the extent necessary to

effectuate this Notice of Dismissal Without Prejudice. Polymer80 also hereby withdraws its

Motion for Sanctions. (Doc. 46).




1
  Polymer80 specifically notes that this dismissal without prejudice does not prejudice its ability to prosecute its claims
in VanDerStok, et al. v. Garland, et al., No. 4:22-cv-00691-O, and appellate proceedings associated with that case.


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Dated: February 14, 2024                  Respectfully submitted,

                                          BRADLEY ARANT BOULT CUMMINGS
                                          LLP

                                          /s/ Dennis L. Daniels Jr.
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                             CERTIFICATE OF SERVICE
      I certify that on February 14, 2024, the foregoing document was served, via the Court’s

CM/ECF Document Filing System, upon the registered CM/ECF users in this action.

                                          /s/ Dennis L. Daniels Jr._____
                                          Dennis L. Daniels Jr.




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